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         UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA

                                                                  CASE NO.:
   GARFIELD SPENCE

           Plaintiff,

   vs.                                                            INJUNCTIVE RELIEF SOUGHT


   6702-6852 COMMONS TAMARAC, LLC.

           Defendant.
                                                  /

                                         COMPLAINT

           Plaintiff, GARFIELD SPENCE (“Plaintiff”), by and through the undersigned counsel,

   hereby files this Complaint and sues 6702-6852 COMMONS TAMARAC, LLC. (referred to as

   “Defendant”) a for profit entity, for declaratory and injunctive relief, attorneys’ fees, expenses

   and costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. §

   12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:

                                    JURISDICTION AND VENUE

          1.       This Court is vested with original jurisdiction over this action pursuant to

  28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the 2010

  ADA Standards.

           2.      Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(B) and Internal

   Operating Procedures for the United States District Court for the Southern District of Florida in




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   that all events giving rise to the lawsuit occurred in Broward County, Florida.




                                                   PARTIES

           3.      Plaintiff, GARFIELD SPENCE is sui juris and is a resident of the State of

   Florida.

           4.      Upon information and belief, Defendant is the lessee, operator, owner and/or

   lessor of the Real Property, which is subject to this suit, and is located at 6820 N University Dr,

   Tamarac, FL 33321 (“Premises”), and is the owner of the improvements where Premises is

   located.

           5.      Defendant is authorized to conduct, and is in fact conducting, business within the

   state of Florida.

          6.       Plaintiff is an individual with numerous disabilities and is a double amputee

  which results in absolutely no use of the legs and requires him to use and remain in a wheelchair.

  The above listed disability and symptoms cause sudden onsets of severe pain and substantially

  limit Plaintiff’s major life activities. At the time of Plaintiff’s visit to the Premises in October of

  2023 (and prior to instituting this action), Plaintiff suffered from a “qualified disability” under

  the ADA, and required the use of fully accessible parking spaces and fully accessible paths of

  travel throughout the facility. Plaintiff personally visited the Premises, but was denied full and

  equal access and full and equal enjoyment of the facilities and amenities within the Premises,

  even though he would be classified as a “bona fide patron”.

           7.      Plaintiff, in his individual capacity, will absolutely return to the Premises and

   avail himself of the services offered when Defendant modifies the Premises or modifies the




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   policies and practices to accommodate individuals who have physical disabilities.

           8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

   aware that it would be a futile gesture to return to the Premises as long as those violations exist,

   and Plaintiff is not willing to suffer additional discrimination.

           9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

   result of Defendant's discrimination until Defendant is compelled to comply with the

   requirements of the ADA.

           10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

   able to enjoy the goods and services that are available to the able-bodied public, but is currently

   precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

   Plaintiff will continue to be precluded from using the Premises until corrective measures are

   taken at the Premises to eliminate the discrimination against persons with physical disabilities.

           11.     Completely independent of the personal desire to have access to this place of

   public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

   purpose of discovering, encountering and engaging discrimination against the disabled in public

   accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

   personally visits the public accommodation; engages all of the barriers to access, or at least of

   those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

   the extent to which they are illegal barriers to access; proceeds with legal action to enjoin

   such discrimination; and subsequently returns to Premises to verify its compliance or non-

   compliance with the ADA and to otherwise use the public accommodation as members of the

   able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also

   intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,




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   and its maintenance of the accessible features of Premises. In this instance, Plaintiff, in

   Plaintiff’s individual capacity and as a “tester”, visited Premises, encountered barriers to access

   at Premises, and engaged and tested those barriers, suffered legal harm and legal injury, and will

   continue to suffer such harm and injury as a result of the illegal barriers to access and the ADA

   violations set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

   Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

           12.      Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

   Defendant modifies the Premises or modifies the policies and practices to accommodate

   individuals who have physical disabilities to confirm said modifications have been completed

   in accordance with the requirements of the ADA.

                   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

           13.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

   above as if fully stated herein.

           14.      On July 26, 1990, Congress enacted the Americans With Disabilities Act

   (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)

   years from enactment of the statute to implement its requirements. The effective date of Title III

   of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

   employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. §

   36.508(a).

           15.      Congress found, among other things, that:

                 a. some 43,000,000 Americans have one or more physical or mental disabilities,

                    and this number shall increase as the population continues to grow older;

                 b. historically, society has tended to isolate and segregate individuals with




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               disabilities and, despite some improvements, such forms of discrimination

               against disabled individuals continue to be a pervasive social problem, requiring

               serious attention;

           c. discrimination against disabled individuals persists in such critical areas as

               employment, housing, public accommodations, transportation, communication,

               recreation, institutionalization, health services, voting and access to public

               services and public facilities;

           d. individuals with disabilities continually suffer forms of discrimination, including

               outright intentional exclusion, the discriminatory effects of architectural,

               transportation, and communication barriers, failure to make modifications to

               existing facilities and practices. Exclusionary qualification standards and criteria,

               segregation, and regulation to lesser services, programs, benefits, or other

               opportunities; and,

           e. the continuing existence of unfair and unnecessary discrimination and prejudice

               denies people with disabilities the opportunity to compete on an equal basis and

               to pursue those opportunities for which our country is justifiably famous, and

               accosts the United States billions of dollars in unnecessary expenses resulting

               from dependency and non-productivity.

        Congress explicitly stated that the purpose of the ADA was to:

           f. provide a clear and comprehensive national mandate for elimination of

               discrimination against individuals with disabilities;

           g. provide clear, strong, consistent, enforceable standards addressing discrimination




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                    against individuals with disabilities; and

                 h. invoke the sweep of congressional authority, including the power to enforce the

                    fourteenth amendment and to regulate commerce, in order to address the major

                    areas of discrimination faced on a daily basis by people with disabilities.

   U.S.C. § 12101(b)(1)(2) and (4).

           17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA

   Standards, Defendant’s Premises is a place of public accommodation covered by the ADA by the

   fact it provides services to the general public and must be in compliance therewith.

           18.      Defendant has discriminated and continues to discriminate against Plaintiff and

   others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

   services, facilities, privileges, advantages and/or accommodations located at the Premises, as

   prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

   architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

           19.      Plaintiff has visited Premises, and has been denied full and safe equal access to

   the facilities and therefore suffered an injury in fact.

           20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on

   a spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

   Defendant’s failure and refusal to provide disabled persons with full and equal access to its

   facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the architectural

   barriers that are in violation of the ADA.

           21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

   Department of Justice, Office of the Attorney General promulgated, Federal Regulations to

   implement the requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA




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   Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36,

   under which said Department may obtain civil penalties of up to $55,000.00 for the first violation

   and $110,000.00 for and subsequent violation.

         22.           Based on a preliminary inspection of the Premises, Defendants are in violation of

  42 USC § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of but not limited to, inter alia, the following specific

  violations:

                  i.     In front of Quince Supermarket, the two accessible parking spaces are not level

                         due to the presence of accessible ramp side flares in the accessible parking

                         spaces in violation of Sections 502.4 and 406.5 of the 2010 ADAAG standards.

                         This barrier to access would make it dangerous and difficult for Plaintiff to exit

                         and enter their vehicle while parked at the Property as the van may rest upon

                         the ramp and create an unlevel surface for Plaintiff to exit and enter their

                         vehicle.

                ii.      Adjacent to Unit 6850, the two accessible parking spaces and associated access

                         aisle have a running slope in excess of 1:48 in violation of Section 502.4 of the

                         2010 ADAAG standards and are not level. This barrier to access would make it

                         dangerous and difficult for Plaintiff to exit and enter their vehicle while parked

                         at the Property as Plaintiff’s wheelchair may roll down the slope while entering

                         or exiting the vehicle.

                iii.     Adjacent to Unit 6850, the access aisle servicing the two accessible spaces has

                         a pothole in it. As a result, the ground surfaces have vertical rises in excess of

                         ¼ (one quarter) inch in height, are not stable or slip resistant, have broken or




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                 unstable surfaces or otherwise fail to comply with Section 502.4, 302 and 303

                 of the 2010 ADAAG standards. This barrier to access would make it dangerous

                 and difficult for Plaintiff to access the units of the Property.

           iv.   Adjacent to Unit 6850, due to a failure to enact a policy of proper foliage

                 maintenance, there is foliage growing in the accessible ramp. As a result, the

                 ground surfaces of the accessible ramp have vertical rises in excess of ¼ (one

                 quarter) inch in height, are not stable or slip resistant, have broken or unstable

                 surfaces or otherwise fail to comply with Sections 302, 303 and 405.4 of the

                 2010 ADAAG standards. This barrier to access would make it dangerous and

                 difficult for Plaintiff to access the units of the Property as Plaintiff’s wheel

                 could get snagged on the vertical rise and cause the wheelchair to tip.

            v.   In front of Unit 6738, the access aisle servicing the two accessible spaces has a

                 pothole in it. As a result, the ground surfaces have vertical rises in excess of ¼

                 (one quarter) inch in height, are not stable or slip resistant, have broken or

                 unstable surfaces or otherwise fail to comply with Section 502.4, 302 and 303

                 of the 2010 ADAAG standards. This barrier to access would make it dangerous

                 and difficult for Plaintiff to access the units of the Property.

           vi.   In between Units 6708 and 6710, the two accessible parking spaces have a slope

                 in excess of 1:48 in violation of section 502.4 of the 2010 ADAAG standards

                 and is not level. This barrier to access would make it dangerous and difficult

                 for Plaintiff to exit and enter their vehicle while parked at the Property as

                 Plaintiff’s wheelchair may roll down the slope while entering or exiting the

                 vehicle.




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           vii.   There are no accessible parking spaces on the Property that have a sign

                  designating an accessible parking space as “Van Accessible” in violation of

                  section 208.2.4 of the 2010 ADAAG standards and section 502.6 of the 2010

                  ADAAG standards. This barrier to access would make it difficult for Plaintiff

                  to locate a van accessible parking space.

          viii.   In front of Quince Supermarket, the ground surfaces of the two accessible

                  spaces have vertical rises in excess of ¼ (one quarter) inch in height, are not

                  stable or slip resistant, have broken or unstable surfaces or otherwise fail to

                  comply with Section 502.4, 302 and 303 of the 2010 ADAAG standards. This

                  barrier to access would make it dangerous and difficult for Plaintiff to access

                  the units of the Property.

           ix.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

                  facilities are readily accessible to and usable by disabled individuals.



  QUINCE SUPERMARKET RESTROOMS

             i.   The lavatories and/or sinks in the restrooms have exposed pipes and surfaces

                  and are not insulated or configured to protect against contact in violation of

                  section 606.5 of the 2010 ADAAG standards. This barrier to access would make

                  it difficult for Plaintiff and/or any disabled individual to safely utilize the sink

                  as the pipes underneath the sink typically have sharp surfaces and/or hot pipes,

                  and since individuals in wheelchairs use a sink while seated, their legs are

                  particularly vulnerable to these threats.

            ii.   As a result of the sink being less than 27 inches from the finished floor, there is

                  inadequate knee and toe clearance in violation of section 306 of the 2010




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                        ADAAG standards. This barrier to access would make it difficult for Plaintiff

                        and/or any disabled individual to utilize the restroom sink as Plaintiff is seated

                        in a wheelchair and, when seated, Plaintiff’s feet and legs protrude out in front.

                        In order to properly utilize a sink, Plaintiff’s legs must be able to be underneath

                        the surface of the sink, but due to the improper configuration of the sink, there

                        is no room underneath for Plaintiff’s legs and feet.

               iii.     The restroom stall door lacks a clear minimum maneuvering clearance, due to the

                        proximity of the door hardware within 18 inches to the adjacent urinal, in violation of

                        Section 404.2.4 of the 2010 ADAAG standards. This barrier to access would make it

                        difficult for Plaintiff and/or any disabled individual to safely utilize the restroom due

                        to the fact individuals in wheelchairs have their feet sticking out in front of them and

                        when there is inadequate clearance near the door (less than 18 inches), their protruding

                        feet block their ability to reach the door hardware to open the door.


               x.       Due to the placement of a paper towel dispenser on the wall and the policy of

                        placing the trash can next to the door, the restroom door lacks a clear minimum

                        maneuvering clearance, due to the proximity of the door hardware within 18

                        inches to the adjacent trash can and dispenser, in violation of Section 404.2.4

                        of the 2010 ADAAG standards. This barrier to access would make it difficult

                        for Plaintiff and/or any disabled individual to safely utilize the restroom due to

                        the fact individuals in wheelchairs have their feet sticking out in front of them

                        and when there is inadequate clearance near the door (less than 18 inches), their

                        protruding feet block their ability to reach the door hardware to open the door.

         23.          To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate




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   the specific violations set forth in paragraph 22 herein.

          24.     Although Defendant is charged with having knowledge of the violations,

   Defendant may not have actual knowledge of said violations until this Complaint makes

   Defendant aware of same.

          25.     To date, the readily achievable barriers and other violations of the ADA still exist

   and have not been remedied or altered in such a way as to effectuate compliance with the

   provisions of the ADA.

          26.     As the owner, lessor, lessee or operator of the Premises, Defendants are required

   to comply with the ADA. To the extent the Premises, or portions thereof, existed and were

   occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

   continuing obligation to remove architectural barriers at the Premises where removal was readily

   achievable, as required by 28 C.F.R. §36.402.

          27.     To the extent the Premises, or portions thereof, were constructed for occupancy

   after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

   obligation to design and construct such Premises such that it is readily accessible to and usable

   by individuals with disabilities, as required by 28 C.F.R. §36.401.

          28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of

   this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid

   by Defendant, pursuant to 42 U.S.C. § 12205.

          29.     All of the above violations are readily achievable to modify in order to bring

   Premises or the Facility/Property into compliance with the ADA.

          30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991

   ADAAG standard applies and all of the violations listed in paragraph 22 herein can be applied




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   to the 1991 ADAAG standards.

          31.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

   Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

   accessible to and useable by individuals with disabilities to the extent required by the ADA and

   closing the Subject Facility until the requisite modifications are completed.



          WHEREFORE, Plaintiff demands judgment against Defendants and requests the

   following injunctive and declaratory relief:

                1. That this Court declares that Premises owned, operated and/or controlled by
                   Defendants are in violation of the ADA;
                2. That this Court enter an Order requiring Defendants to alter their facilities to
                   make them accessible to and usable by individuals with disabilities to the full
                   extent required by Title III of the ADA;
                3. That this Court enter an Order directing the Defendants to evaluate and neutralize
                   their policies, practices and procedures toward persons with disabilities, for such
                   reasonable time so as to allow the Defendants to undertake and complete
                   corrective procedures to Premises;
                4. That this Court award reasonable attorney’s fees, all costs (including, but not
                   limited to the court costs and expert fees) and other expenses of suit to the
                   Plaintiff; and,
                5. That this Court award such other and further relief as it may deem necessary, just
                   and proper.

                Dated: November 12, 2023

                                                         /s/ Alberto R. Leal.
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